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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

JAMES PIPPER,                                 Case No: 2:16-cv-14354-AC-EAS
                                              Hon. Avern Cohn
             Plaintiff,                       Magistrate Judge Elizabeth A. Stafford
-vs-

JOHN TOLFREE HOSPITAL d/b/a
WEST BRANCH REGIONAL MEDICAL CENTER, P.C.,
MANDHIR JAMWAL, M.D. & PRIMARY CARE, P.C.

             Defendants

Scott Weidenfeller (P56001)                   J. BRIAN MacDONALD (P-25887)
Attorney for Plaintiff                        CLINE, CLINE & GRIFFIN, P.C.
115 E. Dunlap                                 Attorney for Defendants Jamwal & P.C
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asullivan@smpklaw.com

                 STIPULATION FOR DISMISSAL WITH PREJUDICE

      NOW COME the parties hereto, by and through their respective counsel, and
STIPULATE AND AGREE that this cause of action shall be dismissed as to Defendants,
Mandhir Jamwal, M.D. & Primary Care, P.C., with prejudice and without an award of fees
and/or costs to either party.


Dated:       October 16, 2017          /s/ Scott Weidenfeller
                                       Scott Weidenfeller (P-56001)
                                       Attorney for Plaintiff

Dated:       October 16, 2017          /s/ J. Brian MacDonald
                                       J. Brian MacDonald (P-25887)
                                       Attorney for Defendants Jamwal & Primary Care
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

JAMES PIPPER,                                   Case No: 2:16-cv-14354-AC-EAS
                                                Hon. Avern Cohn
             Plaintiff,                         Magistrate Judge Elizabeth A. Stafford
-vs-

JOHN TOLFREE HOSPITAL d/b/a
WEST BRANCH REGIONAL MEDICAL CENTER, P.C.,
MANDHIR JAMWAL, M.D. & PRIMARY CARE, P.C.

             Defendants

Scott Weidenfeller (P56001)                     J. BRIAN MacDONALD (P-25887)
Attorney for Plaintiff                          CLINE, CLINE & GRIFFIN, P.C.
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                          ORDER OF DISMISSAL WITH PREJUDICE


       PRESENT: HONORABLE AVERN COHN

       The court being fully advised in the premises, and having reviewed the above
Stipulation for Dismissal with Prejudice signed by the parties;

       IT IS HEREBY ORDERED that this cause of action be dismissed as to Defendants,
Mandhir Jamwal, M.D. and Primary Care, P.C., with prejudice, and without an award of
fees and/or costs to either party. This Order does not resolve the last pending claim nor
close the case.

Date: 12/8/2017                          s/Avern Cohn
                                         Hon. Avern Cohn
                                         U.S. District Court Judge
